Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 1 of 10




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 FT. LAUDERDALE DIVISION

                                     Case No.: 0:22-cv-60450


  MARCELIN LIBERAL, individually, and on
  behalf of all others similarly situated,

              Plaintiff,

  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC and MEMORIAL REGIONAL
  HOSPITAL SOUTH AUXILIARY, INC.,

           Defendants.
  _____________________________________/

   DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC’S ANSWER
   AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S CLASS ACTION COMPLAINT

         COMES NOW, Defendant, Healthcare Revenue Recovery Group, LLC (“Defendant” or

 “HRRG”), by and through its undersigned counsel, hereby files its Answer and Affirmative

 Defenses to Plaintiff, Marcelin Liberal’s Class Action Complaint, [DE 1], and states the following:

                                    NATURE OF THE ACTION

         1.      Admitted to the extent of subjection matter, personal and federal question

 jurisdiction, venue and claims identification under the provisions of the Telephone Consumer

 Protection Act (“TCPA”), Fair Debt Collection Practices Act (“FDCPA”) and Florida’s Consumer

 Collection Practices Act (“FCCPA”) . Otherwise denied; HRRG demands strict proof thereof.

         2.      Admitted to the extent that the provisions of the TCPA, particularly, Section

 227(b)(1)(A)(iii) are self-evident in its entirety and, thus, denied as to any aspects or interpretations

 other than the plain full reading of correspondence; otherwise denied.
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 2 of 10




        3.     Admitted as the statement contained as cited. Otherwise denied as substantive

 evidence or data; Defendant demands strict proof thereof.

                                JURISDICTION AND VENUE

        4.     Admitted for purposes of federal question jurisdiction; otherwise denied.

        5.     Admitted for purposes of supplemental jurisdiction; otherwise denied.

        6.     Admitted for purposes of venue only; otherwise denied.

                                           PARTIES

        7.     Admitted for purpose of jurisdiction and venue only; otherwise denied.

        8.     Admitted for purpose of jurisdiction and venue only; otherwise denied.

        9.     Admitted for purpose of jurisdiction and venue only; otherwise denied.

        10.    Admitted for purpose of jurisdiction and venue only; otherwise denied.

        11.    Admitted for purpose of jurisdiction and venue only; otherwise denied.

        12.    Admitted for purpose of jurisdiction and venue only; otherwise denied.

        13.    Admitted for purpose of jurisdiction and venue only; otherwise denied.

        14.    Admitted for purpose of jurisdiction and venue only; otherwise denied.

        15.    Admitted for purpose of jurisdiction and venue only; otherwise denied.

        16.    Admitted for purpose of jurisdiction and venue only; otherwise denied.

        17.    The allegations contained in this paragraph are asserted solely against a Defendant

 other than Defendant HRRG and therefore no response is necessary. However, to the extent that

 the allegations are asserted directly, indirectly or vicariously against Defendant HRRG, the

 allegations are denied. Defendant HRRG demands strict proof thereof.

        18.    The allegations contained in this paragraph are asserted solely against a Defendant

 other than Defendant HRRG and therefore no response is necessary. However, to the extent that



                                                2
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 3 of 10




 the allegations are asserted directly, indirectly or vicariously against Defendant HRRG, the

 allegations are denied. Defendant HRRG demands strict proof thereof.

        19.     The allegations contained in this paragraph are asserted solely against a Defendant

 other than Defendant HRRG and therefore no response is necessary. However, to the extent that

 the allegations are asserted directly, indirectly, or vicariously against Defendant HRRG, the

 allegations are denied. Defendant HRRG demands strict proof thereof.

        20.     Denied. Defendant demands strict proof thereof.

                                  FACTUAL ALLEGATIONS

        21.     Unknown at this time; therefore, denied.

        22.     Unknown at this time; therefore, denied.

        23.     Unknown at this time; therefore, denied.

        24.     Unknown at this time; therefore, denied.

        25.     Defendant asserts that it was retained by the original creditor to request repayment

 of an outstanding medical debt obligation claimed due by the original creditor from the Plaintiff.

 Otherwise, denied.

        26.     Defendant asserts that it was retained by the original creditor to request repayment

 of an outstanding medical debt obligation claimed due by the original creditor from the Plaintiff.

 Otherwise, denied.

        27.     Defendant asserts that it was retained by the original creditor to request repayment

 of an outstanding medical debt obligation claimed due by the original creditor from the Plaintiff.

 Otherwise, denied.

        28.     Unknown at this time; therefore, denied.

        29.     Unknown at this time; therefore, denied.



                                                 3
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 4 of 10




       30.    Unknown at this time; therefore, denied.

       31.    Unknown at this time; therefore, denied.

       32.    Unknown at this time; therefore, denied.

       33.    Unknown at this time; therefore, denied.

       34.    Unknown at this time; therefore, denied.

                                         DAMAGES

       35.    Denied.

       36.    Denied.

       37.    Denied.

                                  CLASS ALLEGATIONS

       38.    Defendant re-asserts and incorporates its responses to the allegations contained in

 paragraphs 1−37.

       39.    Denied; Defendant demands strict proof thereof.

       40.    Denied; Defendant demands strict proof thereof.

       41.    Denied; Defendant demands strict proof thereof.

       42.    Denied; Defendant demands strict proof thereof.

       43.    Denied; Defendant demands strict proof thereof.

       44.    Denied; Defendant demands strict proof thereof.

       45.    Denied; Defendant demands strict proof thereof.

       46.    Denied; Defendant demands strict proof thereof.

       47.    Denied; Defendant demands strict proof thereof.

       48.    Denied; Defendant demands strict proof thereof.

       49.    Denied; Defendant demands strict proof thereof.


                                               4
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 5 of 10




         50.     Denied; Defendant demands strict proof thereof.

         51.     Denied; Defendant demands strict proof thereof.

         52.     Denied; Defendant demands strict proof thereof.

         53.     Denied; Defendant demands strict proof thereof.

         54.     Denied; Defendant demands strict proof thereof.

                                            Count I: TCPA:

                                     47 U.S.C. § 227(b)(1)(A)(iii)

         55.     Defendant re-asserts and incorporates its responses to the allegations contained in

 paragraphs 1−54.

         56.     Admitted to the extent that the provisions of the TCPA, particularly, Section

 227(b)(1)(A)(iii) are self-evident in its entirety and, thus, denied as to any aspects or interpretations

 other than the plain full reading of correspondence; otherwise denied.

         57.     Denied; Defendant demands strict proof thereof.

         58.     Denied; Defendant demands strict proof thereof.

         59.     Denied; Defendant demands strict proof thereof.

         60.     Denied; Defendant demands strict proof thereof.

         61.     Denied; Defendant demands strict proof thereof.

         62.     Denied; Defendant demands strict proof thereof.

                                           Count II: FDCPA

                              15 U.S.C. § 1692c, 1692d and § 1692d(5)

         63.     Defendant re-asserts and incorporates its responses to the allegations contained in

 paragraphs 1−62.




                                                    5
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 6 of 10




        64.     Admitted to the extent that the provisions of the FDCPA, particularly, Section

 1692c(a)(1) are self-evident in its entirety and, thus, denied as to any aspects or interpretations

 other than the plain full reading of correspondence; Defendant denies that any action or inaction

 of the Defendant violated the FDCPA; otherwise denied.

        65.     Denied; Defendant demands strict proof thereof.

        66.     Denied; Defendant demands strict proof thereof.

        67.     Denied; Defendant demands strict proof thereof.

        68.     Denied; Defendant demands strict proof thereof.

        69.     Admitted to the extent that the provisions of the FDCPA, particularly, Section

 1692d and 1692d(5) are self-evident in its entirety and, thus, denied as to any aspects or

 interpretations other than the plain full reading of correspondence; Defendant denies that any

 action or inaction of the Defendant violated the FDCPA; otherwise denied.

        70.     Denied; Defendant demands strict proof thereof.

        71.     Denied; Defendant demands strict proof thereof.

        72.     Denied; Defendant demands strict proof thereof.

        73.     Denied; Defendant demands strict proof thereof.

        74.     Denied; Defendant demands strict proof thereof.

                                        Count III: FCCPA

                                    Section 559.72(7) Fla. Stat.

        75.     Defendant re-asserts and incorporates its responses to the allegations contained in

 paragraphs 1−74.

        76.     Admitted to the extent that the provisions of the FCCPA, particularly, Section

 559.72(7) Fla. Stat. are self-evident in its entirety and, thus, denied as to any aspects or


                                                 6
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 7 of 10




 interpretations other than the plain full reading of correspondence; Defendant denies that any

 action or inaction of the Defendant violated the FCCPA; otherwise denied.

        77.     Denied; Defendant demands strict proof thereof.

        78.     Denied; Defendant demands strict proof thereof.

        79.     Denied; Defendant demands strict proof thereof.

        80.     Denied; Defendant demands strict proof thereof.

        81.     Denied; Defendant demands strict proof thereof.

                                          JURY DEMAND

        Defendant demands trial by jury for any remaining issue following the determination of

 any dispositive motions.

                                   AFFIRMATIVE DEFENSES

 First Affirmative Defense

        Defendant affirmatively alleges that Defendant is not liable for the alleged actions or

 inactions of other third parties, and/or any of their employees, agents, or principals.

 Second Affirmative Defense

        Defendant affirmatively alleges that to the extent that any allegations exceed one (1) year

 from the date of filing of the Complaint, such claims or allegations are barred by the statute of

 limitations under the Fair Debt Collection Practices Act (“FDCPA”).

 Third Affirmative Defense

        Defendant affirmatively alleges that the alleged actions of Defendant and its agents and

 employees are protected by the “bona fide error” defense pursuant to the Fair Debt Collection

 Practices Act, Section 1692d since such actions or inactions, if they occurred, were not intentional




                                                   7
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 8 of 10




 and resulted from a bona fide error notwithstanding the Defendant’s maintenance of procedures

 reasonably adapted to avoid such error.

 Fourth Affirmative Defense

          Defendant affirmatively alleges that Defendant lacks the requisite intent under Section

 1692d(5).

 Fifth Affirmative Defense

          Plaintiff is not entitled to recover any damages, or any recovery awarded should be reduced

 by the amount of damages which reasonably could have been avoided, because Plaintiff failed to

 take reasonable steps to mitigate her damages with respect to the matters alleged in the Complaint.

 Sixth Affirmative Defense

          Even assuming arguendo that HRRG violated the TCPA, as alleged in the Complaint,

 which presupposition HRRG denies, such violation was not intentional.

 Seventh Affirmative Defense

          Defendant affirmatively alleges that to the extent that any allegations exceed four (4) years

 from the date of filing the Complaint, such claims or allegations are barred by the statute of

 limitations under the Telephone Consumer Protection Act (“TCPA”).

 Eighth Affirmative Defense

          Defendant affirmatively alleges that the telephone equipment utilized by the Defendant is

 not an “Automatic Telephone Dialing System” as defined by the TCPA in accordance with the

 holding of Glasser v. Hilton Grand Vacation Co., LLC, 948 F. 3d 1301, 1312−1313 (11th Cir.

 2020).




                                                   8
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 9 of 10




 Ninth Affirmative Defense

        Defendant affirmatively alleges that HRRG had prior express consent to contact the

 Plaintiff as well as any other claimed individual as defined in the purported TCPA class.

 Tenth Affirmative Defense

        Defendant HRRG asserts that the U.S. Supreme Court's fractured decision in Barr v. Am.

 Ass'n of Political Consultants (AAPC), 140 S. Ct. 2335, 207 L. Ed. 2d 784 (2020) amounts to an

 adjudication that the entirety of § 227(b)(1)(A)(iii) was unconstitutional from the moment

 Congress enacted the offending government-debt exception to the moment the Court severed that

 exception to preserve the rest of the law in AAPC on July, 6, 2020, therefore Plaintiff’s allegations

 of alleged violations of an unconstitutional law are not enforceable in federal court. Id.

 Eleventh Affirmative Defense

        Defendant affirmatively alleges that to the extent that any allegations exceed two (2) year

 from the date of filing of the Complaint, such claims or allegations are barred by the statute of

 limitations under Florida’s Consumer Collection Practices Act (“FCCPA”).

 Twelfth Affirmative Defense

        Defendant affirmatively alleges that Defendant lacks the requisite intent under Section

 559.72(7) Fla. Stat.

 Thirteenth Affirmative Defense

        Defendant affirmatively alleges that the alleged actions of Defendant and its agents and

 employees are protected by the “bona fide error” defense pursuant to Florida’s Consumer

 Collection Practices Act since such actions or inactions, if they occurred, were not intentional and

 resulted from a bona fide error notwithstanding the Defendant’s maintenance of procedures

 reasonably adapted to avoid such error.



                                                  9
Case 0:22-cv-60450-RS Document 7 Entered on FLSD Docket 03/29/2022 Page 10 of 10




         WHEREFORE, Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC,

  request that this Court dismiss Plaintiff’s Complaint, and that HRRG be awarded reasonable

  attorneys’ fees and costs as provided for under applicable law.

         Dated this 29th day of March 2022.

                                                Respectfully submitted,


                                                /s/ Ernest H. Kohlmyer, III
                                                Ernest H. Kohlmyer, III
                                                SKohlmyer@Shepardfirm.com
                                                Florida Bar No.: 0101108
                                                2300 Maitland Center Parkway, Suite 100
                                                Maitland, Florida 33751
                                                Telephone: (407) 622-1772
                                                Facsimile (407) 622-1884
                                                Attorneys for Defendant, HRRG



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

  March 29, 2022, with the Clerk of the Court by using the electronic filing system. I further certify

  that the foregoing has been sent via electronic transmission to the following: Alexander J. Taylor,

  Esquire of Sulaiman Law Group, LTD, at ataylor@sulaimanlaw.com (Attorneys for Plaintiff).


                                                /s/_Ernest H. Kohlmyer, III
                                                Ernest H. Kohlmyer, III
                                                SKohlmyer@Shepardfirm.com
                                                Florida Bar No.: 0101108
                                                2300 Maitland Center Parkway, Suite 100
                                                Maitland, Florida 33751
                                                Telephone: (407) 622-1772
                                                Facsimile (407) 622-1884
                                                Attorneys for Defendant, HRRG




                                                  10
